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   Via ECF                                                            March 6, 2020

   District Judge R. Brooke Jackson
   Alfred A. Arraj United States Courthouse
   Courtroom A-902
   901 19th Street
   Denver, CO 80294

          Re:     Warner Records, Inc., et al. v. Charter Communications,
                  Inc., D. Colo. Case No.: 19-cv-00874-RBJ-MEH

   Dear Judge Jackson:

           Plaintiffs write in response to Charter’s February 28, 2020 Letter (Dkt. 137) seeking
   approval to file a Motion to Dismiss (“Second MTD”) directed to Plaintiffs’ First Amended
   Complaint (“FAC”). The Court should deny that request. Permitting a Second MTD would
   needlessly undo six months of briefing and Judge Hegarty’s pending Recommendation on
   Charter’s original Motion to Dismiss (Dkt. 38, “Pending MTD”), simply because Plaintiffs made
   ministerial changes to the party names and exhibits to their initial Complaint. Those changes
   have been contemplated by the parties and the Court since the Scheduling Order was entered
   last June. They are entirely non-substantive and have no bearing whatsoever on Charter’s
   motion to dismiss, which hinges in no way on the party names or the individual copyrighted
   works in suit. The Court should therefore apply the Pending MTD to the FAC, and proceed to
   evaluating the Magistrate’s well-reasoned and thorough Recommendation (Dkt. 71).

   I.     Background on Charter’s Pending MTD, the Magistrate’s Recommendation,
          and Plaintiffs’ Ministerial Amendments.

           Plaintiffs are record companies and music publishers that produce, distribute, sell, and
   license the world’s most popular sound recordings and musical compositions. On March 22,
   2019, Plaintiffs filed a Complaint against Charter based on Charter’s failure to take appropriate
   action in response to hundreds of thousands of infringement notices identifying specific, repeat
   infringements of Plaintiffs’ works by Charter subscribers. Dkt. 1. The Complaint alleges two
   counts of copyright infringement against Charter—contributory infringement (Count I), and
   vicarious infringement (Count II)—and appends two Exhibits which identify the sound
   recordings and musical compositions on which Plaintiffs claim infringement.

           On May 28, 2019, Charter filed the Pending MTD, in which it sought to dismiss only the
   vicarious infringement claim. Dkt. 38 at 7. Over the next six months, between July and
   November 2019, the parties briefed the Pending MTD (Dkt. 38, 50, 56); Judge Hegarty issued a
   Recommendation denying the Pending MTD (Dkt. 71); and the parties and amici curiae briefed
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   Charter’s Objection to that Recommendation (Dkt. 82, 83, 87), which is pending before this
   Court. Charter and its amici filed 49 pages of briefing on the Pending MTD.

           In accordance with the Court’s Scheduling Orders and as contemplated by all parties, see
   Dkt. 44 at 10, Dkt. 77, 79, Plaintiffs moved in January 2020 to (1) amend their Complaint to add
   certain affiliates as plaintiffs and make minor changes to the names of others (Dkt. 109); and (2)
   amend their works-in-suit Exhibits to remove certain works and make typographical and minor
   adjustments to certain track and artist names, plaintiffs, and registration numbers. See Dkt. 111.
   Importantly, none of these amendments changed any of the substantive or factual allegations
   of the complaint or the causes of action asserted. See Dkt. 109-1, 133-1, 133-2 (redlines).

            In Charter’s “Statement of Non-Opposition” to the amendment, it asked the Court to
   “render Charter’s [Pending MTD] moot.” Dkt. 112. Judge Hegarty refused the request based on
   Local Rule 7.1(d)’s requirement that a motion “not be included in a response or reply to the
   original motion.” Dkt. 121. Instead, he granted the motions to amend and ordered Charter to
   “file an answer or other response” in accordance with Rule 15. Id. Charter never thereafter filed
   a motion to render the Pending MTD moot, nor has it answered the FAC. See Dkt. 141.

            Instead, days before Charter’s response to the FAC was due, Charter sought Plaintiffs’
   consent to a request for judicial notice as part of a motion to dismiss. Feb. 25 Charter email.
   Charter said it would again “challenge Plaintiffs’ amended complaint on the grounds addressed
   in [its] prior motion to dismiss,” because “[p]ractically speaking,” the Pending MTD did not
   address the newly added Plaintiffs. Feb. 28 email exchange with Charter’s counsel. To address
   Charter’s purported concern, Plaintiffs proposed the parties “handle it practically” and “stipulate
   that any ruling on the pending MTD would apply to the newly added Plaintiffs.” Id. Charter
   rejected Plaintiffs’ pragmatic approach to resolving Charter’s stated concern.

   II.    The Court should apply the Pending MTD to the FAC.

           The Pending and proposed Second MTDs concern whether Plaintiffs plausibly pleaded
   that Charter received a direct financial benefit from the alleged infringement and whether
   Charter had the right and ability to stop it. Those issues do not turn on the identities of the
   Plaintiffs or the works they own. Indeed, neither the Pending MTD, nor the six months of
   briefing thereon, nor Judge Hegarty’s 16-page Recommendation, so much as mentions a single
   individual Plaintiff or work. Permitting Charter to reprise its Pending MTD would thus do
   needless harm to the orderly and efficient administration of this case. It would undo six months
   of briefing and require both the parties and the Magistrate Judge to engage in a wasteful and
   unnecessary do-over. It would further delay the timely resolution of this case: it has been
   nearly five months since Judge Hegarty issued his Recommendation (which Charter doesn’t
   mention in its letter) and nearly a year since Plaintiffs filed their Complaint.

           Courts routinely apply pending motions to dismiss to recently-amended complaints in
   these circumstances, and the Court should here too. As a leading treatise instructs, “[i]f some of
   the [purported] defects raised in the original motion remain in the new pleading, the court
   simply may consider the motion as being addressed to the amended pleading. To hold
   otherwise would be to exalt form over substance.” Charles A. Wright, Arthur R. Miller & Mary
   K. Kane, Federal Practice and Procedure § 1476 (2019) (emphasis added); see also J.H. ex rel.
   J.P. v. Nation, 61 F. Supp. 3d 1176, 1184 (D.N.M.), aff'd sub nom. J.H. ex rel. J.P. v. Bernalillo
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   Cty., 806 F.3d 1255 (10th Cir. 2015) (“In this case, the First and Second Amended Complaints
   are almost identical in their presentations of the relevant facts, and in their statements of the
   due-process claim. The Court therefore considers the MTD as addressed to the Second
   Amended Complaint and cites that document.”). Applying the Pending MTD to the FAC is
   consistent with the practical, efficient approach espoused by Your Honor’s Practice Standards;
   by contrast, the Second MTD would be “costly, time-consuming, a cause of delay, and a burden
   on the court,” and unnecessary on top of all of that—precisely the kind of motion Your Honor’s
   Practice Standards seek to reduce. Practice Standards at 1.

           Charter claims the “first Motion to Dismiss is moot as it responds to a now defunct
   complaint,” implying the Court cannot apply the Pending MTD to the FAC. Ltr. at 2. Charter is
   wrong. In fact, a case that Charter cites for this proposition does exactly what Charter implies
   the Court cannot do: it “evaluate[d] Defendants’ respective motions to dismiss as directed at
   Plaintiffs’ second amended complaint,—filed after the motions to dismiss—because the “current
   pending motions to dismiss will equally apply to the [s]econd [a]mended [c]omplaint.”
   Gotfredson v. Larsen LP, 432 F. Supp. 2d 1163, 1172 (D. Colo. 2006). In the other two cases
   Charter cites, the plaintiff amended in response to the motion to dismiss. Strich v. United
   States, No. 1:09-cv-01913-REB-KLM, Dkt. 65 at ¶ 3 (D. Colo. Jan. 5, 2010) (“The Proposed
   Amended Complaint addresses the issues in the Pending MTD.”); Miller v. Heil, 2011 WL
   3439736, at *2 (D. Colo. Aug. 5, 2011) (“the plaintiff states that he is revising his Amended
   Complaint in response to the defendants' first Motion to Dismiss”). Here, Plaintiffs made
   ministerial, planned amendments after Judge Hegarty issued his Recommendation to deny the
   Pending MTD and Charter’s Objection. Charter simply wants another bite at the apple after that
   Recommendation. Rule 15 is plainly not as rigid as to require that, as Charter contends.

           Charter’s new claim that Plaintiffs’ decision to drop certain works “is relevant to whether
   Charter had the right and ability to control alleged infringements,” Letter at 3, is also meritless—
   and, frankly, makes no sense. Charter does not—and cannot—explain what impact that could
   possibly have on the adequacy of Plaintiffs’ allegations of Charter’s right and ability to control
   infringement. As Judge Hegarty’s Recommendation demonstrates, Charter’s “relevance”
   argument is wrong and Plaintiffs’ claim is sufficiently pled.1

                                                        Respectfully submitted,

                                                        /s/Neema T. Sahni
                                                        Neema T. Sahni


   1Charter suggests a new MTD is proper based on the events in UMG Recordings, Inc. et al v.
   Bright House Networks, Case No. 8:19-cv-00710-MSS-TGW (M.D. Fl.)—a similar litigation
   between some of these plaintiffs and another ISP represented by the same counsel as here. That
   court sua sponte denied as moot a pending motion to dismiss following plaintiffs’ filing of an
   amended complaint which, as here, only made changes to the plaintiff entities. In that case,
   however, neither the magistrate judge nor the district judge had addressed the initial motion.
   Bright House re-filed essentially the same motion to dismiss, which required the plaintiffs to re-
   brief those issues at substantial cost and to no benefit. Id. at Dkt. 32, 88, 90, 99. The events in
   Bright House demonstrate the waste and inefficiency of Charter’s proposed approach here.
